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                United States District Court
                 District of Massachusetts

                  _______________________

          Criminal Action No. 1:13-cr-10262-DPW


                       United States,

                              v.

                   Michael P. O’Donnell
                  _______________________

Memorandum in Support of Motion Under 28 U.S.C. §
 2255 Seeking a New Trial by a Person in Federal
                     Custody
    ___________________________________________
                      Issue Presented
     1.    Whether the defendant was deprived of the
effective assistance of counsel where his trial counsel
entered into a trial stipulation that effectively admitted his
guilt and guaranteed his conviction and where his
appellate counsel declined to raise the issue on direct
appeal.
     2.    Whether, assuming the stipulation entered into
by counsel did not constitute a full admission of guilt, trial
counsel’s unilateral decision not to have the defendant
testify deprived him of the effective assistance of counsel.




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                        Procedural History
        In his appellate brief, the defendant’s appellate
counsel accurately described the procedural history in the
trial court. For purposes of this memorandum, the
defendant will rely on that description, the relevant
portions of which are as follows:

        Defendant Michael P. O’Donnell [“O’Donnell”] was
      indicted by a grand jury in the District of Massachusetts
      on September 11, 2013 for bank fraud and attempted
      bank fraud, in violation of 18 U.S.C. § 1344. App. I/3, 19-
      27.[1] The indictment alleged that as a loan originator,
      O’Donnell engaged in a scheme to defraud mortgage
      lenders in multiple transactions including, but not
      limited to, a $44,000 loan from Countrywide Bank to
      “L.T.” on or about April 20, 2007. That loan attributed to
      Countrywide Bank was the only transaction involving a
      federally-insured bank alleged in the indictment.

         O’Donnell filed a motion to dismiss the indictment on
      the grounds that the mortgage loan attributed to
      Countrywide Bank was actually made by Countrywide
      Home Loans, a mortgage company which was not a
      “financial institution” within the ambit of the bank fraud
      statute. App. I/31-34. The government opposed
      defendant’s motion to dismiss. App. I/55-144. The
      district court (Woodlock, J.) denied the motion on the
      grounds that the indictment alleged on its face a crime
      within the court’s jurisdiction, and that a motion to
      dismiss was not the proper vehicle to test the sufficiency
      of the evidence to support that allegation. App. I/8.


[1]
  References to the Record-Appendix will be abbreviated herein as “App. [volume/page
number].” References to the Addendum will be abbreviated as “Add. [page number].”



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    Shortly before the scheduled start of trial, O’Donnell
  waived his right to a trial by jury, App. I/200-201, and
  executed a trial stipulation in which he admitted to
  having engaged in a scheme to defraud mortgage lenders
  in connection with the refinancing of a three-family
  dwelling located at 40 Harbor Street in Salem, MA.
  More specifically, O’Donnell stipulated to having
  submitted two applications for mortgage loans in
  connection with that refinancing, including a second
  mortgage loan in the amount of $44,000 from
  “Countrywide.” App. I/186-199. O’Donnell stipulated to
  having provided false documents and information in
  connection with said loan application. Id.

    A three-day bench trial began on July 15, 2015 and
  ended on July 21, 2015. The sole contested issue at trial
  was whether the government had proven beyond a
  reasonable doubt that the entity which O’Donnell had
  defrauded with respect to the $44,000 Countrywide loan
  was Countrywide Bank, a financial institution within
  the ambit of the bank fraud statute, as opposed to
  Countrywide Home Loans, which was not a financial
  institution within the ambit of § 1344. At the conclusion
  of trial, the district court found O’Donnell guilty of
  attempted bank fraud under both 18 U.S.C. § 1344(1)
  and § 1344(2). The court did not convict O’Donnell of the
  completed offense. 

    The district court imposed sentence on December 14,
  2015. O’Donnell was sentenced to serve 36 months in
  prison, to be followed by two years of supervised release.
  No restitution was ordered, but O’Donnell was sentenced
  to pay a fine in the amount of $150,000. Judgment
  entered on December 18, 2015. Add. 8-13.

    O’Donnell filed a timely notice of appeal. App. I/17,
  529-530. A motion to stay execution of sentence filed in



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      the district court was denied on February 1, 2016. App.
      I/18. 	

On October 19, 2016, the United States Court of Appeals

for the First Circuit affirmed the defendant’s conviction.

United States v. O’Donnell, 840 F.3d 15 (1st Cir. 2016).

                          Statement of Facts
         The First Circuit succinctly summarized the facts and
the context in which they. The relevant portions of the
factual findings are as follows:

        O'Donnell was indicted under the Bank Fraud Act (the
      Act) on [September 11, 2013]1. The Act provides:

            Whoever knowingly executes, or attempts to
            execute, a scheme or artifice—

            (1) to defraud a financial institution; or

            (2) to obtain any of the moneys, funds, credits,
            assets, securities, or other property owned by, or
            under the custody or control of, a financial
            institution, by means of false or fraudulent
            pretenses, representations, or promises;

            shall be fined not more than $1,000,000 or
            imprisoned not more than 30 years, or both.

         18 U.S.C. § 1344.

        The indictment alleged that O'Donnell violated
      subsections (1) and (2) of the Act. Specifically, the
1
    The decision of the First Circuit erroneously lists the date as June 15, 2015.

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  indictment alleged that he “knowingly executed and
  attempted to execute a scheme and artifice to defraud
  Countrywide Bank, FSB, a federally-insured financial
  institution, and to obtain money ... and other property
  owned by and under the custody and control of
  Countrywide Bank, FSB, by means of false and
  fraudulent pretenses, representations, and promises,
  concerning material facts and matters in conjunction
  with a mortgage loan in the amount of $44,000 for
  property located at 40 Harbor Street, Salem,
  Massachusetts.”

     Following indictment, O'Donnell waived his right to a
     jury trial and opted for a bench trial. He also entered
     into a stipulation. The stipulation set forth the
     following facts concerning the scheme alleged in the
     indictment.

    While serving as a self-employed loan originator
  operating through his loan originator business, AMEX
  Home Mortgage Corporation, O'Donnell completed loan
  applications and submitted them to mortgage companies
  on behalf of individuals seeking to purchase or refinance
  property. In 2007, O'Donnell sought to defraud mortgage
  lenders in connection with the refinancing of the
  property in Salem, Massachusetts referenced in the
  indictment.

    The scheme began with O'Donnell's efforts to obtain a
  mortgage loan on a different property, which was owned
  by a woman named L.T. In connection with that
  transaction, O'Donnell submitted a mortgage loan
  application containing false information about L.T. to
  Homecomings Financial Network, Inc. O'Donnell also
  paid, from a bank account controlled by AMEX,
  approximately $37,000 that L.T. was supposed to put
  down herself to secure the loan for that property.



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    After O'Donnell was successful in securing the
  mortgage loan in L.T.'s name, O'Donnell then sought to
  secure a second mortgage loan in L.T.'s name, this time
  for the Salem, Massachusetts property named in the
  indictment. O'Donnell sought this loan in order to obtain
  the $37,000 that he had put down to secure the first loan
  in L.T.'s name.

    O'Donnell submitted the application for this second
  loan to a different entity from the one to which he had
  submitted the application for the first loan. The
  stipulation referred to the entity to which O'Donnell
  submitted the second loan application as follows:
  “Countrywide, where Countrywide Home Loans
  employees underwrote and processed the application.”

    This second loan application contained many of the
  same false statements that were in O'Donnell's
  application for the first loan in L.T.'s name. O'Donnell
  also provided fraudulent responses to various follow-up
  inquiries in the course of seeking this second loan. When
  this second loan closed, O'Donnell pocketed most of the
  proceeds.

    The key issue at trial concerned whether O'Donnell's
  fraudulent scheme to secure the second loan targeted
  Countrywide Bank, FSB, as the indictment alleged, or
  only Countrywide Home Loans, as O'Donnell contended.
  The identification of the intended target was crucial
  because O'Donnell stipulated that Countrywide Bank,
  FSB was a “financial institution” within the meaning of
  the Act, while the government did not dispute that
  Countrywide Home Loans was not.

    In ruling from the bench at the close of evidence, the
  District Court explained that it had determined that the
  record showed that O'Donnell was “on notice” that
  Countrywide Bank, FSB was “part of this transaction in


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  some form” in the second loan transaction. With that
  finding in place, the District Court then found that
  O'Donnell was guilty of “attempt[ing]” to execute—
  though not of actually executing—a scheme or artifice
  described in subsections (1) and (2) both because
  O'Donnell had intended to defraud Countrywide Bank,
  FSB and because he had intended to obtain money and
  property that was under Countrywide Bank, FSB's custody
  and control.

United States v. O’Donnell, 840 F.3d at 16-18.




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                         Argument

I.   The Defendant Is Entitled To A New Trial
     Where Poor Advice Provided By His Trial
     Counsel Deprived Him Of The Effective
     Assistance Of Counsel And Likely Resulted His
     Conviction In Circumstances Where He Should
     Have Been Acquitted
     As described above, the defendant and the
government entered into a detailed trial stipulation in
connection with his waiver of a jury trial in which he
admitted to having engaged in a scheme to defraud
mortgage lenders in connection with the refinancing of a
three-family dwelling at 40 Harbor Street in Salem. His
stipulation included an admission that he submitted two
applications for mortgage loans in connection with that
refinancing, including a second mortgage loan in the
amount of $44,000 from “Countrywide.” He also stipulated
that he provided false documents and information in
connection with that loan application. The difficulty with
that stipulation is that it effectively admitted his guilt
under the bank fraud statute, guaranteeing his conviction
under at least the attempt portion of the statute. While this
Court did conduct a limited colloquy as to that stipulation,
that colloquy did not alert him that the stipulated facts by
themselves could support his conviction. Contrast United
States v. Lyons, 898 F.2d 210, 215-216 (1st Cir. 1990)
(judge's colloquy included forewarning to defendant that
court could decide case on stipulated facts alone and could

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find him guilty on that basis). To the extent that his trial
counsel advised him to enter into such an ill-advised
stipulation, he deprived the defendant of the effective
assistance of counsel. The defendant is entitled to a new
trial on this basis.
      In order to sustain a claim of ineffective assistance of
counsel, a criminal defendant must prove (1) that counsel's
performance fell below an objective standard of
reasonableness, and (2) that there is a reasonable
probability that, but for counsel's errors, the result of the
trial would have been different. Bell v. Cone, 535 U.S. 685,
695 (2002); Williams v. Taylor, 529 U.S. 362, 390–91
(2000); Strickland v. Washington, 466 U.S. 668, 687–88
(1987). That standard applies in the context of a decision to
stipulate to some or all of the facts trial— the defendant
must demonstrate that there is a reasonable probability
that, but for counsel's poor advice, he would not have
agreed to a stipulated facts trial and would have insisted
on proceeding with a jury trial. See Cooper–Smith v.
Palmateer, 397 F.3d 1236, 1243–1244 (9th Cir.) (applying
Strickland test to ineffective assistance claim arising out of
stipulated facts trial), cert. denied, 546 U.S. 944 (2005);
      Under 18 U.S.C. § 1344, the bank fraud statute, guilt
may be established by defrauding a financial institution,
defined as a federally insured bank, or by attempting to do
so. Trial counsel’s apparent strategy in entering into this
stipulation, was to put the government to its proof on their

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theory that he had fraudulently obtained funds from
Countrywide Bank. He was successful in doing so, as this
Court declined to convict the defendant under that theory.
However, through the stipulation, the defendant effectively
admitted to an attempt to defraud Countrywide Bank.
While this may not have been the government’s primary
theory of the case, the stipulation itself nevertheless
established his guilt under one of two prongs of the statute.
It thus rendered him just as guilty as if he had been
convicted of actually defrauding a bank and subjected him
to the same penalties. Contrast United States v. Simone,
931 F.2d 1186, 1194 (7th Cir. 1991) (defendant charged
with narcotics offenses was not denied effective assistance
of counsel when defense counsel admitted during
summation that defendant was a drug dealer; defense
counsel intentionally stipulated facts and conceded those
charges for which there was irrefutable evidence and no
mandatory sentences, but argued defendant's innocence on
charges with heavier penalties, as part of trial strategy). As
this Court noted, “[h]e has pled to the essential elements of
the offense. I do not think he thought he was doing that . .
.”. [Tr. 3, 34].
      There are, of course, circumstances where counsel
advises a defendant to stipulate facts for the purpose of
admitting guilt, allowing him to then focus on punishment.
See e.g. Florida v. Nixon, 543 U.S. 175, 191–192 (2004)
(upholding counsel's strategic decision to concede guilt and

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focus on the penalty phase). There are also cases where
counsel may reasonably stipulate to facts amounting to less
than a full admission of guilt. See e.g. Berry v. King, 765
F.2d 451, 454 (5th Cir. 1985) (petitioner failed to establish
prejudice from stipulation entered into by his counsel
where that stipulation did not admit specific intent, lack of
which was the defense petitioner presented in guilt phase
of trial, and facts stipulated were ones that the state could
easily establish). Here, as noted above, the stipulation
amounted to a full admission of guilt under the bank fraud
statute, and no view of the record can establish the
reasonableness of such a strategy.
     Finally, to the extent that appellate counsel failed to
address this issue in the defendant’s direct appeal, they
also deprived him of the effective assistance of counsel by
waiving an issue that had a high likelihood of succeeding.
Smith v. Robbins, 528 U.S. 259, 288-289 (2000). That is,
there is reasonable probability that, but for his appellate
counsel's unreasonable failure to raise a particular
nonfrivolous issue on appeal, he would have prevailed on
that appeal. Milton v. Miller, 744 F.3d 660, 669 (10th Cir.
2014), citing Id. at 285. See Delgado v. Lewis, 223 F.3d 976,
980-981 (9th Cir. 2000).
     Ultimately, the stipulation was nothing more than a
guilty plea to one of two theories set forth in the statute
and with no benefit from that stipulation. Had the
defendant known he was doing so—and he clearly did not—

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he certainly would not have agreed to the stipulation. More
important, to the extent that trial counsel made a strategic
decision to draft a stipulation that guaranteed a conviction
under the statute, and to the extent that his appellate
attorneys failed to address that issue on appeal, their
decisions were manifestly unreasonable.

II.   Assuming The Stipulation Entered Into By
      Counsel Did Not Constitute A Full Admission Of
      Guilt, Trial Counsel’s Unilateral Decision Not
      To Have The Defendant Testify Deprived Him
      Of The Effective Assistance Of Counsel
      Assuming the stipulation did not constitute a full
admission of guilt, the only way to salvage this case would
have been to have the defendant testify on his own behalf.
Although he and his counsel had planned for him to testify,
for reasons that are not clear, counsel made a unilateral
decision not to call him as a witness.
      A decision by trial counsel to call or not to call a
witness, including the defendant, is ordinarily a matter of
trial tactics and not subject to post-conviction review.
United States v. Mullins, 315 F.3d 449, 453 (5th Cir. 2002).
However, the decision of a criminal defendant to testify or
waive the right to testify at trial is personal to him,
notwithstanding the wishes of his trial counsel. Brown v.
Artuz, 124 F.3d 73, 77-78 (2d Cir. 1997). See Rock v.
Arkansas, 483 U.S. 44, 49–53 (1987); Jones v. Barnes, 463
U.S. 745, 751 (1983). The failure of the attorney to make


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that clear to the defendant or to honor the defendant’s
decision as to whether to testify amounts to ineffective
assistance of counsel. Id. at 79-80.
     In this case, the defendant contends that after he and
counsel had decided that he should testify, counsel simply
failed to call him as a witness. While counsel may have had
tactical reasons for doing so, by making a unilateral
decision, he deprived the defendant of the effective
assistance of counsel. Id. See Rock v. Arkansas, 483 U.S. at
49–53.
     Further, that decision was both manifestly
unreasonable and prejudicial. In view of his stipulation
that he had engaged in fraudulent conduct, the only way he
could avoid a conviction would be to establish that he did
not know that the institution he sought to defraud was
Countrywide Home Loans and not Countrywide Bank. The
only way he could establish that point would be to testify—
as he had planned—that he was not aware of the
involvement of Countrywide Bank. More specifically, he
was prepared to testify that he was not aware of the
language in the documents stating “thank you for
submitting your loan to Countrywide Bank FSB”. He would
further testify that he had a longstanding contractual
relationship with Countrywide Home Loans and that he
had closed hundreds of Countrywide loans prior to this one.
Every one of them read, “thank you for submitting your
loan to Countrywide Home Loans”. He quite reasonably

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was not aware that the documentation for Countrywide
loans had changed or that Countrywide Home Loans had
entered into a relationship with Countrywide Bank. He
never submitted documents to Countrywide Bank, and no
employee of either entity had informed him of the change.
     As with his challenge to the stipulation, the failure of
appellate counsel to address this issue deprived the
defendant of the effective assistance of counsel, since the
issue was stronger than the ones they raised. See Smith v.
Robbins, 528 U.S. at 288-289; Delgado v. Lewis, 223 F.3d at
980-981.
     Where the defendant had no other effective way of
disproving inferences argued by the government—i.e., that
he must have been aware that he was dealing with
Countrywide Bank—the decision not to call him as a
witness cannot be justified. The decision of appellate
counsel to forgo this issue compounded the error. The
defendant is entitled to a new trial on this basis.




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III. Conclusion
     Based on the authorities and reasons set forth above,
the defendant asks that this Court grant him a new trial or
such other relief as he may be entitled.

                       Respectfully submitted,

                       Michael P. O’Donnell,
                       By his attorney,



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